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    IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

ARCELORMITTAL TUBULAR                  )
PRODUCTS, et al.,                      )
                                       )
      Plaintiffs,                      )
                                       )
      v.                               )        Court No. 24-00039
                                       )
THE UNITED STATES,                     )
                                       )
      Defendant,                       )
                                       )
      and                              )
                                       )
DALMINE S.p.A.,                        )
                                       )
      Defendant-Intervenor.            )

                                      ORDER

      Upon consideration of the defendant’s unopposed motion for voluntary

remand, it is hereby ORDERED that the motion is granted. The briefing schedule

in this matter (ECF No. 34) is suspended. Defendant shall file the remand results

within 90 days of this order. Within 14 days of the filing of the remand results, all

parties shall submit a joint status report proposing further proceedings.

SO ORDERED.



Dated: ________________, 2024                 ____________________________
                                               JUDGE M. MILLER BAKER
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THE UNITED STATES,                    )
                                      )
      Defendant,                      )
                                      )
      and                             )
                                      )
DALMINE S.p.A.,                       )
                                      )
      Defendant-Intervenor.           )

 DEFENDANT’S UNOPPOSED MOTION FOR VOLUNTARY REMAND

      Pursuant to Rule 7(b) of the Rules of the United States Court of International

Trade, defendant, the United States, respectfully requests that the Court remand the

Department of Commerce’s final results set forth in Certain Cold-Drawn

Mechanical Tubing of Carbon and Alloy Steel From Italy: Final Results of

Antidumping Duty Administrative Review; 2021-2022, 89 Fed. Reg. 1,523 (Dep’t

of Commerce Jan. 10, 2024) (P.R. 111), and the accompanying Issues and

Decision Memorandum (IDM) (P.R. 105). Defendant further requests that the

Court (1) suspend the current briefing schedule in this matter (ECF No. 34) to

allow for completion of the remand, (2) order defendant to file the remand results


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within 90 days of the Court’s order granting of this motion, and (3) order the

parties to submit a joint status report proposing further proceedings, within 14 days

of Commerce filing of the remand results.

      On September 26, 2024, plaintiffs’ counsel, Melissa Brewer, informed us

that plaintiffs will not oppose this motion. On September 25, 2024, defendant-

intervenor’s counsel, Kristina Zissis, informed us that defendant-intervenor will

not oppose this motion.

                            FACTUAL BACKGROUND

      Plaintiffs challenge Commerce’s final results in the fourth administrative

review of the antidumping duty order covering certain cold-drawn mechanical

tubing from Italy. In their motion for judgment on the agency record filed pursuant

to Rule 56.2 of this Court’s rules, plaintiffs assert that, in the course of the review,

on June 1, 2023, plaintiffs submitted comments urging that defendant-intervenor,

Dalmine S.p.A., and another entity, S.C. Silcotub S.A., should be treated as a

single entity. See Pls. Mot. at 13, ECF. No. 37.1 In these comments, they “cited to

five Department memoranda from recent agency cases in which the Department




      1
         Because the parties have not yet filed the joint appendix relating to
plaintiffs’ Rule 56.2 motion, we generally cite to plaintiffs’ assertions in their Rule
56.2 motion for purposes of the Court’s resolution of this motion for remand.
Those assertions illustrate the nature of plaintiffs contentions in this action.


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had considered collapsing entities under analogous facts.” Id. Commerce initially

accepted plaintiffs’ June 1 submission. See id. at 15-16.

      Commerce published preliminary results for the review on June 30, 2023,

and in those preliminary results treated Dalmine and Silcotub as separate entities.

See Certain Cold-Drawn Mechanical Tubing of Carbon and Alloy Steel From

Italy: Preliminary Results of Antidumping Duty Administrative Review; 2021-

2022, 88 Fed. Reg. 43,281 (Dep’t of Commerce July 7, 2023) (P.R. 70), and

accompanying Decision Memorandum for the Preliminary Results of the

Administrative Review of the Antidumping Duty Order on Certain Cold Drawn

Mechanical Tubing of Carbon and Alloy Steel from Italy; 2021-2022 (June 30,

2023) (P.R. 64).

      In plaintiffs’ subsequent administrative case brief, they “cited the same five

Department memoranda.” Pls. Mot. at 17. On December 8, 2023, Commerce

“suddenly rejected Petitioners’ Case Brief and removed it from the record of the

proceeding.” Id. at 18. In a rejection letter, Commerce “claimed that the citations

to prior agency memoranda contained in Petitioners' Case Brief constituted ‘factual

information,’ and because those memoranda had not been placed on the record of

the underlying administrative review, they were untimely submitted in Petitioners'

Case Brief after the record had closed.” Id. at 18. Plaintiffs refiled their case brief

with the citations redacted, and plaintiffs additionally filed a letter requesting



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reconsideration and withdrawal of the rejection of the case brief, in which plaintiffs

referenced the agency’s acceptance of the June 1 submission. Id. at 19.

      On December 14, 2023, Commerce rejected both the refiled case brief and

the earlier June 1 comments, on the basis that the five case citations in the June 1

comments constituted untimely new factual information. Id. at 19-20. Plaintiffs

sought reconsideration of this decision, asserting among other things that the case

citations had been on the record for over six months, and that “as a legal matter,

citations to prior agency memoranda are not ‘factual information’ within the

meaning of the Department's regulations at 19 C.F.R. § 351.102(b)(21).” Id. at 20-

21; see P.R. 97. In addition to the written request for reconsideration, plaintiffs

also met with Commerce, and asked that the agency reconsider and withdraw its

rejection of plaintiffs’ case brief and June 1 comments. Id. at 21-22; see P.R. 102.

      Commerce issued its final results on January 10, 2024, and in plaintiffs’

view, the final results “failed to address any of the legal and factual arguments

[plaintiffs] raised in their letters and during the December 20 meeting,” other than

a reference in a footnote stating that because plaintiffs’ initial case brief contained

untimely new factual information, the agency rejected it and permitted plaintiffs to

refile without that information. See id. at 22.

      The Court has entered a scheduling order in this matter, allowing for briefing

and resolution pursuant to Rule 56.2. Order, ECF No. 34. In their subsequent



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Rule 56.2 motion, plaintiffs assert that “[r]emand is necessary” because the final

results “fail to provide any explanation or justification for the rejection of

Petitioners’ submissions” or for the conclusion “that citations to agency

memoranda from prior cases are ‘factual information’ that must be submitted on

the record within certain time limits.” Pls. Mot. at 25. Plaintiffs also assert that

Commerce’s “failure to address Plaintiffs' arguments in the Final Results provides

a sufficient basis alone for remand.” Id. at 35. Plaintiffs assert that this failure

resulted in Commerce erroneously declining to collapse Dalmine and Silcotub.

The correctness of that collapsing decision by Commerce is the sole substantive

issue raised by plaintiffs in this case. See Pls. Mot. at 54-73.

      Defendant’s response to plaintiffs’ Rule 56.2 motion is due to be filed on

October 1, 2024, with defendant-intervenor’s Rule 56.2 response due to be filed on

October 15, 2024. Order, ECF No. 34.

                                    ARGUMENT

I.    Standard Of Review

      An agency may, without confessing error, ask the Court to remand a matter

so that the agency may reconsider its prior position. SKF USA Inc. v. United

States, 254 F.3d 1022, 1029 (Fed. Cir. 2001). The Court possesses discretion over

whether to remand, but a voluntary remand in such circumstances is generally

appropriate “if the agency’s concern is substantial and legitimate,” as opposed to



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“frivolous or in bad faith.” Id.; see Ad Hoc Shrimp Trade Action Committee v.

United States, 882 F. Supp. 2d 1377, 1381 (Ct. Int’l Trade 2013). This Court has

held that “concerns are considered substantial and legitimate when (1) Commerce

supports its request with a compelling justification, (2) the need for finality does

not outweigh the justification, and (3) the scope of the request is appropriate.”

Baroque Timber Industries (Zhongshan) Co., Ltd. v. United States, 925 F. Supp. 2d

1332, 1339 (Ct. Int’l Trade 2013).

       Notably, when an agency seeks a voluntary remand to address a substantial

and legitimate concern, “it is far more sensible for a court to defer to the agency

whose expertise consists of administering the statute.” Gleason Indus. Prods., Inc.

v. United States, 31 C.I.T. 393, 396 (2007). Should the Court grant the request and

determine a remand is warranted, the appropriate action is for the Court to remand

to Commerce for further proceedings without directing a particular outcome. See,

e.g., Nippon Steel Corp. v. United States, 345 F.3d 1379, 1381-82 (Fed. Cir. 2003);

Essar Steel Ltd. v. United States, 678 F.3d 1268, 1275 (Fed. Cir. 2012).

II.    The Court Should Grant Commerce’s Request For A Voluntary
       Remand

       Upon further examination of the record, the United States respectfully

requests a voluntary remand to allow Commerce, without confessing error, to

“reconsider its previous position” as set forth in the final results. SKF USA, 254

F.3d at 1029. Specifically, Commerce wishes to (1) respond to plaintiffs’ request


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for reconsideration; (2) reconsider the agency’s position with respect to its

rejection of materials in which plaintiffs cited prior administrative proceedings;

and (3) if appropriate, revise that position with respect to the admissibility of

plaintiffs’ submissions. Defendant furthermore seeks a full remand because, if

plaintiffs’ previously-rejected submissions are placed on the administrative record,

Commerce will need to consider plaintiffs’ accompanying arguments for purposes

of the agency’s single-entity determination with respect to Dalmine and Silcotub.

      Defendant’s reasons for seeking remand are “substantial and legitimate,”

because the considerations described by this Court in previous cases have been

met. See Baroque Timber, 925 F. Supp. 2d at 1339. First, the Government has a

compelling justification for its request because all of the issues in this case turn on

the admissibility and consideration of evidence regarding single-entity treatment of

Dalmine and Silcotub. Commerce rejected multiple iterations of plaintiffs’

submissions because they contained citations to and discussion of five

circumvention and affiliation agency memoranda from prior cases, which appear to

have been offered to demonstrate prior practice through prior agency memoranda

from the record of other proceedings. See, e.g., Pls. Mot. at 55 (asserting that the

collapsing analysis in the final results ignored the agency’s “own decisions in past

cases”). After the rejection of these submissions, plaintiffs submitted a request for

reconsideration, yet Commerce in the final results did not expressly address the



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request or the arguments on which it was based. Commerce “wish[es] to consider

further” the governing regulations and “the procedures that were followed.” See

SKF USA, 254 F.3d at 1028. If upon reconsideration Commerce determines that it

should not have rejected these submissions, that determination could change

Commerce’s single-entity determination and therefore the final results and the

disposition of this case.

      Second, the need for finality does not outweigh defendant’s justification,

given the strength of the justification and the fact that plaintiffs themselves assert

that remand is required on the grounds that Commerce did not address plaintiffs’

request for reconsideration in the final results. See Pls. Mot. at 35. Moreover, no

party will be opposing our motion.

      Third, the scope of our request is appropriate because the remand is related

to the admissibility of support for the fundamental underlying issue raised by

plaintiffs, namely Commerce’s alleged failure to treat Dalmine and Silcotub as a

single entity for purposes of the administrative review of the relevant antidumping

duty order. See Pls. Mot. at 54. Plaintiffs’ substantive arguments are largely based

on their assertion that Commerce in its collapsing analysis “ignored the [agency’s]

own decisions in past cases since the Department rejected and removed from the

record all of Petitioners[’] citations to the relevant affiliation and collapsing

memoranda.” Id. at 55. Plaintiffs further assert that “[t]he issue of collapsing is



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crucial to the Department's treatment of the costs of two affiliated entities,” and

therefore to the final results. See id.

      Accordingly, there is a substantial and legitimate justification for this Court

to grant a voluntary remand. By requesting a voluntary remand of this case, we do

not waive any available defenses or any arguments related to the merits of the

issues before the Court. See Tianjin Wanhua Co., Ltd. v. United States, 253 F.

Supp. 3d 1318, 1327-28 (Ct. Int’l Trade 2017).

      We furthermore respectfully request that the Court suspend the current

briefing schedule in this case, to include the upcoming due dates for responses to

plaintiffs’ motion for judgment on the agency record. Suspension of the schedule

is warranted for the same reasons as the voluntary remand, namely that

Commerce’s treatment of plaintiffs’ citations to other administrative proceedings is

fundamental to plaintiffs’ arguments, and Commerce’s revisitation of that

treatment necessarily implicates the final results. The propriety of Commerce’s

collapsing decision with respect to Dalmine and Silcotub is the only substantive

issue raised by plaintiffs in this case. Simply put, it would be inefficient for the

parties to brief a challenge to final results that may change on remand. We also

request that the Court provide 90 days for Commerce to submit its remand

redetermination to the Court, with the parties then ordered to submit a joint status

report proposing further proceedings within 14 days of the filing of the remand



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results. The joint status report proposal (or proposals, in the absence of all parties’

agreement) may include a proposed schedule for comments after remand as

contemplated in Rule 56.2(h), or may propose another approach for parties to

address plaintiffs’ claims in light of the remand results.

                                   CONCLUSION

      For these reasons, we respectfully request that the Court remand this matter

in its entirety to Commerce for further administrative proceedings, suspend current

briefing deadlines, order Commerce to file its remand redetermination within 90

days of the remand order, and order the parties to submit a joint status report

within 14 days of the Commerce’s filing of the remand redetermination.

                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney
                                                General


                                                PATRICIA M. McCARTHY
                                                Director


                                                /s/Claudia Burke
                                                CLAUDIA BURKE
                                                Deputy Director




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September 26, 2024                        Attorneys for Defendant




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